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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION



UNITED STATES OF AMERICA,


                       Plaintiff


v.                                                      CASE NO.      3:1OCR3O8


TATIANIA RODRIQUEZ,



                       Defendant.



           REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


       This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon


the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written


plea agreement that has been entered into by the United States and the Defendant. The matter


was presented to the court upon the written consent of the Defendant and counsel for the


Defendant to proceed before a United States Magistrate Judge, said consent including the


Defendant's understanding that she consented to not only having the Magistrate Judge conduct


the hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate


Judge make necessary findings and accepting any guilty plea as may be entered that could not be


withdrawn except for fair and just reason.


       The Defendant pled guilty to Count 1 of the Superseding Indictment in open court and


pursuant to a Rule 11 inquiry. Upon consideration of the responses and statements made by the


Defendant under oath, on the record, and based upon the written plea agreement and statement of


facts presented, the court makes the following findings:
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    1.    That the Defendant is competent to enter a plea of guilty;

    2.    That the Defendant understands the nature of the charge against her to which her

          plea is offered;


    3.    That the Defendant understands what the maximum possible penalties are upon

          conviction of the offense charged, including any mandatory minimum periods of

          confinement, the effect of any required term of supervised release, the loss of


          various civil rights (if applicable, including the right to vote, the right to hold

          public office, the right to own and possess a firearm), the possibility of adverse


          immigration consequences (if applicable), the required imposition of a special


          assessment, forfeiture of real and/or personal property (if applicable), and


          restitution (if applicable);


    4.    That the sentencing court has jurisdiction and authority to impose any sentence


          within the statutory maximums provided, but that the court will determine the


          defendant's actual sentence in accordance with 18 U.S.C. § 3553(a) and that the


          court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a


          sentence above or below the advisory sentencing range, subject only to review by


          higher courts for reasonableness;


    5.    That the Defendant understands her right to persist in a plea of not guilty and


          require that the matter proceed to trial with all the rights and privileges attending a


          trial, including, but not limited to: the right to effective assistance of counsel; the


          right to use the power and processes of the court to compel the production of


          relevant evidence on the Defendant's behalf; the right to confront and cross-


          examine adverse witnesses; the right to present relevant evidence; the right to
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               remain silent; and the right to trial by jury;

       6.      That the Defendant understands that she is waiving any right to appeal whatever

               sentence is imposed by pleading guilty, even if the sentence is erroneous, as long

               as said sentence does not exceed the total statutory penalties provided;

       7.      That the Defendant understands all provisions of the written plea agreement


               which was reviewed in essential part with the Defendant during the proceeding;


       8.      That the plea of guilty entered by the Defendant was knowingly and voluntarily

               entered and is not the result of force or intimidation of any kind; nor is it the result


               of any promises other than the representations set forth in the plea agreement; and


       9.      That the plea of guilty entered by the Defendant was knowingly and voluntarily


               made with full knowledge of the consequences and with an independent basis in


               fact to support said plea.


       Accordingly, the court accepted the Defendant's plea of guilty to Count 1 of the


Superseding Indictment and entered judgment of guilt on the subject charge. It is therefore the


recommendation of this court that its findings, including the acceptance of the Defendant's plea


of guilt and resulting judgment of guilt, be adopted.


       It is so Ordered.



                                                                 /s/
                                                  Dennis W. Dohnal
                                                  United States Magistrate Judge




Dated: M 2 7 2011
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                                            NOTICE


       The Defendant is advised that she may file specific written objection to this report

and recommendation with the court within fourteen (14) days of this date. If objection is

noted, the party objecting must promptly arrange for the transcription of the relevant

record and file it forthwith with the court for its use in any review. Failure to object in

accordance with this notice, including the requirement for preparation of a transcription of

the relevant portions of the record, will constitute a waiver of any right to de novo review of

the matter and may result in adoption of the recommendation, including the finding of

guilt as entered by the magistrate judge.
